                                                   Entered on Docket
                                                   October 16, 2018
                                                   EDWARD J. EMMONS, CLERK
                                                   U.S. BANKRUPTCY COURT
                                                   NORTHERN DISTRICT OF CALIFORNIA

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                                                 The following constitutes the order of the Court.
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                                                 Signed: October 15, 2018
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           )DFVLPLOH            M. Elaine Hammond
                                               U.S. Bankruptcy Judge
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